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Attorneys for Defendant
HAWAII STATE DEPARTMENT
OF EDUCATION

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

A.B., by her parents and next friends, CIVIL NO. CV18-00477 LEK~RT
C.B. and D.B., and T.T., by her parents
and next friends, K.T. and S.T., DEFENDANT HAWAH STATE
DEPARTMENT OF EDUCATION’ S
P]aintiffs, STATEMENT OF NO
OPPOSITION TO DEFENDANT
VS_ OAHU INTERSCHOLASTIC

ASSGCIATION’S M()TION TO

HAWAII STATE DEPARTMENT GF DISMISS PLAINTIFFS A-B., by
EDUCATION and OAHU her parents and next friends, C.B.

lNTERSCHGLASTIC ASSOCIATION, and D-B-, and T-T-, by her parents
and next friends, K.T. and S.T.’s

Defendams, COMPLAINT F0R
DECLARATGRY AND
INJUNCTIVE RELIEF, FILED
DECEMBER 6, 2018 (ECF 22);
cERTlFICATE OF. sERVICE

TRIAL: February 24, 2020
JUDGE: Hon. Leslie E. Kobayashi

 

 

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DEFENDANT HAWAII STATE DEPARTMENT OF EDUCATION’S

STATEMENT OF NO ()PPOSITION TO DEFENDANT OAHU

INTERSCHOLASTIC ASSOCIATI()N’S MOTION TO DISMISS
PLAINTIFFS A.B., by her parents and next friends, C.B. and D.B.,
and T.T., by her parents and next friends, K.T. and S.T.’s COMPLAINT
FOR DECLARATORY AND INJUNCTIVE RELIEF, FILED
DECEMBER 6, 2018 (ECF 22)

COMES NOW, Defendant Hawaii State Department of Education (the
“DOE”), by and through its counsel, Clare E. Connors, Attorney General of the
State of Hawaii, John M. Cregor and Caron M. Inagaki, Deputy Attorneys
General, pursuant to Rule 7.4 Of the Local Rules, hereby states that the DOE has
no Opposition With respect to Defendant Oahu Interscholastic Association’s
Motion to Dismiss Plaintiffs A.B., by her parents and next friends, C.B. and
D.B., and T.T., by her parents and next friends, K.T. and S.T.’s Complaint for
Declaratory and Injunctive Relief, filed December 6, 2018 (ECF 22).

DATED: Honolulu, Hawaii, March 15, 2019.

STATE OF HAWAII
CLARE E. CONNORS

Attorney General 0f Hawaii

/s/ John M. Cregor
JOHN M. CREGOR, JR.
Deputy Attorney General

Attorney for Defendant

HAWAII STATE DEPARTMENT
OF EDUCATION

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